                Case 1:03-md-01570-GBD-SN                   Document 5018          Filed 08/28/19       Page 1 of 2
                                                                                                            28 Bridgeside Blvd.
                                                                                                        Mt. Pleasant, SC 29464
                                                                                               o. 843.216.9000 f. 843.216.9450


                                                                                                               John M. Eubanks
  www.motleyrice.com                                                                                           Licensed in MD & SC
“I will stand for my client’s rights.                                                                     direct: 843.216.9218
         I am a trial lawyer.”                                                                       JEubanks@motleyrice.com
    –Ron Motley (1944–2013)




           VIA ECF

           August 28, 2019

           The Honorable George B. Daniels                              The Honorable Sarah Netburn
           U.S. District Judge                                          U.S. Magistrate Judge
           United States District Court                                 United States District Court
           Southern District of New York                                Southern District of New York
           Daniel P. Moynihan U.S. Courthouse                           Thurgood Marshall U.S. Courthouse
           500 Pearl Street                                             40 Foley Square
           New York, NY 10007                                           New York, NY 10007

                      Re:        In re Terrorist Attacks on September 11, 2001
                                 Case No. 03 MDL 1570 (GBD)(SN)
                                 Burnett, et al. v. The Islamic Republic of Iran, et al.,
                                 Case No. 15-CV-9903 (GBD)(SN)
                                 Arias, et al. v. The Islamic Republic of Iran, et al.,
                                 Case No. 19-CV-41 (GBD)(SN)
                                 Prior, et al. v. The Islamic Republic of Iran, et al.,
                                 Case No. 19-CV-44 (GBD)(SN)

           Dear Judge Daniels and Magistrate Judge Netburn:

                   We write to you today as counsel of record in the above-captioned cases to raise issues that
           are time sensitive to plaintiffs with pending cases against Iran whose judgments have not been
           entered to date. Undersigned counsel write to apprise the Court of certain imminent deadlines that
           are approaching for claims proceeding against Iran. We do so to not prejudice our clients by failing
           to obtain the relief sought.

                   As the Court is aware, judgments entered against the Islamic Republic of Iran may be
           considered eligible for participation in the U.S. Victims of State Sponsored Terrorism Fund
           (“USVSSTF”) that is administered by the U.S. Department of Justice. The USVSSTF has set a
           deadline of September 13, 2019 for the submission of applications to be eligible for the next
           round of compensation that is anticipated to take place next year. With regard to past
           deadlines associated with the USVSSTF, this Court has expeditiously addressed motions for partial
           final judgment to permit claims to be filed with the USVSSTF in advance of deadlines set by that
           Fund. The effort put forth by the Court with regard to past Fund deadlines is appreciated, and we
           wish to assist the Court in any manner possible to accomplish this as efficiently as possible.


                            MT. PLEASANT, SC | PROVIDENCE, RI | HARTFORD, CT | NEW YORK, NY | WASHINGTON, DC
                                 MORGANTOWN, WV | CHARLESTON, WV | NEW ORLEANS, LA | KANSAS CITY, MO


           760910.1
      Case 1:03-md-01570-GBD-SN           Document 5018         Filed 08/28/19       Page 2 of 2




August 28, 2019
Page 2




        For these reasons, we request a telephonic conference with the Court as soon as possible
to resolve any issues regarding the issuance of default judgments against Iran. Currently, the
Burnett plaintiffs have two motions pending with the Court: ECF No. 4790 (filed on August 9,
2019) seeking to correct the judgment entered by Judge Daniels on July 29, 2019; and ECF No.
4893 (filed on August 19, 2019) seeking judgment against Iran on behalf of a subset of our client.
We were informed in a call to Judge Daniels’ chambers on August 26, 2019, that ECF No. 4790
has been referred to Magistrate Judge Netburn and that ECF No. 4893 is on Judge Daniels’ desk
for consideration. The Burnett plaintiffs will likely seek at least two additional motions for partial
final judgment, and the Arias and Prior plaintiffs – also represented by undersigned counsel – will
not be able to seek their liability judgment until September 3, 2019 (60 days after service on Iran).

       We seek the Court’s counsel on how to best effectuate these motions in the tight timeline
remaining without creating an overly burdensome task for the Court.

         We are prepared to proceed with a call whenever the Court is available.

                                                      Respectfully,

                                                      By: /s/_John M. Eubanks_____
                                                      John M. Eubanks, Esq.

cc:      All Counsel of Record via ECF
